
USCA1 Opinion

	





          aFebruary 7, 1995                                [NOT FOR PUBLICATION]                            UNITED STATES COURT OF APPEALS                                FOR THE FIRST CIRCUIT                                 ____________________        No. 94-1868                             ZINNIA SCHROEDER RODRIGUEZ,                                Plaintiff, Appellant,                                          v.                       SECRETARY OF HEALTH AND HUMAN SERVICES,                                 Defendant, Appellee.                                 ____________________                     APPEAL FROM THE UNITED STATES DISTRICT COURT                           FOR THE DISTRICT OF PUERTO RICO                  [Hon. Carmen Consuelo Cerezo, U.S. District Judge]
                                                ___________________                                 ____________________                                        Before                                Torruella, Chief Judge,
                                           ___________                          Boudin and Stahl, Circuit Judges.
                                            ______________                                 ____________________            Juan R. Requena Davila and Juan  A. Hernandez Rivera on  brief for
            ______________________     _________________________        appellant.            Guillermo  Gil,  United  States  Attorney, Maria  Hortensia  Rios,
            ______________                             ______________________        Assistant  United   States  Attorney,   and  Gerald   Luke,  Attorney,
                                                     _____________        Department of Health and Human Services, on brief for appellee.                                 ____________________                                 ____________________



                 Per Curiam.  Claimant Zinnia Schroeder-Rodriguez appeals
                 __________            a  district  court order  that  affirmed  a  decision of  the            Secretary of Health and Human Services that denied Schroeder-            Rodriguez's  claim for  social security  disability benefits.            We affirm.                                          I.                 Claimant is presently  30 years old.  She graduated from            high  school, completed additional  secretarial training, and            was employed as an office worker at various companies between            1982  and  1991.   On December  29,  1991, claimant  filed an            initial  application  for  social  security  benefits.    She            alleged that she became  disabled on September 11, 1991  as a            result  of injuries to her  neck, back, hands,  and legs that            she  sustained  in  a   motor  vehicle  accident.    Claimant            maintained that  she had eight  pinched nerves  and could  no            longer  type or run computers  as a result  of this accident.            She also asserted that her left leg was particularly affected            and that she could not move as she used to.1                   After  claimant's  initial application  was  denied, she            filed a  request for  reconsideration which alleged  that she            was disabled due to an emotional condition in addition to her            physical ailments.   The request was  denied.  Claimant  then            appeared with  counsel at a hearing  before an administrative                                
            ____________________            1.  Claimant  reported  that  she   could  not  drive  or  do            housechores,  although she  occasionally washed  dishes. (Tr.            65).



            law  judge  (ALJ).   She testified  that  she could  not work            because she  had no strength in  her hands and  that she also            suffered  nightmares as a result  of the accident.   She also            maintained that she experienced  constant body pain and could            not  stand, sit,  or walk  for more  than 10-15 minutes  at a            time.     Claimant  further   testified  that   she  required            assistance to bathe, comb  her hair, and care for  her 5-year            old daughter.2                 The ALJ denied claimant's  disability claim at step five            of the sequential evaluation process.  He found that claimant            had a combination of impairments, including cervical, dorsal,            and lumbar  painful syndromes  and multiple nerve  entrapment            neuropathies,  but   that  she  did  not   have  a  medically            determinable  mental  impairment  or  any  significant mental            limitations.   He also found that her allegations of pain and            other  symptoms were  not  fully supported  by the  objective            medical  evidence and  that  her subjective  complaints  thus                                
            ____________________            2.  Shortly before the hearing,  claimant submitted a list of            medications that had been prescribed for her.  These included            Valrelease  (an  anti-anxiety  and anti-muscle  spasm  drug),            Anaprox,  Indocin,  Flexeril,  and  Feldene  (medications for            muscle relaxation,  inflammation, and  arthritis).   When the            ALJ asked claimant whether her medications relieved her pain,            claimant indicated  that she  preferred to remain  lying down            and not  taking her  medications because they  caused adverse            side effects.  (Tr. 29).  However, the ALJ correctly observed            that the  medical evidence indicated that  claimant had never            complained  of  any  adverse  side effects  to  her  treating            physicians.    We  further   note  that  claimant's  list  of            medications indicated  that she  was not taking  them because            she was pregnant.  (Tr. 195).                                           -3-



            deserved  "very little  credibility." (Tr.  16-17).   The ALJ            found that  claimant  had the  residual  functional  capacity            (RFC) to  perform the physical  exertional and  nonexertional            requirements of  sedentary to light work, but  that she could            not do frequent or  continuous hand-finger activities such as            typing.   While  the  ALJ concluded  that claimant  could not            perform her past work because it required frequent typing, he            also found that her RFC was not  significantly compromised by            her  nonexertional  limitations.     (Tr.  19).    Given  the            claimant's physical RFC for  sedentary to light work, younger            age,  education  (beyond high  school),  and work  experience            (skilled),  the  ALJ concluded  that  Grid  Rules 201.28  and            201.29  directed a "not disabled"  finding.  (Tr.  17, 19).3             The  district court  summarily  affirmed  the ALJ's  decision            under 42 U.S.C.  405(g).  This appeal followed.                                           II.                 Before we  address the claimant's  arguments, we  review            the relevant  medical evidence.  Shortly  after the accident,            claimant  secured   medical  treatment  at  the  Puerto  Rico            Compensation  Administration  Due  to   Automobile  Accidents            (ACAA).    The  record   discloses  that  claimant  sustained            whiplash-like  injuries after her car was hit by a Mack truck            while she was en route  to work on September 11, 1991.   (Tr.                                
            ____________________            3.  These rules  apply to workers with  transferable and non-            transferable skills  whose RFCs are limited  to the sedentary            range of work.                                          -4-



            26,  175).  X-rays taken  a week after  the accident revealed            cervical  muscle spasm.   (Tr.  153).   She was  treated with            Robaxin, a skeletal muscle relaxant.   On September 18, 1991,            claimant  was examined  by  Dr. Wildo  Vargas, a  physiatrist            affiliated  with  the  ACAA.4   She  complained  of  constant            headaches and pain in her neck, back, and left hip.  Physical            exam  disclosed  severe   tenderness  of  the   paracervical,            trapezius,  thoracic, and lumbosacral  paraspinal muscles and            the muscles of both arms.   Her range of motion was  limited.            Dr.  Vargas prescribed  physical  therapy consisting  of  hot            packs,  TENS  (transcutaneous  electric  nerve  stimulation),            ultrasound, therapeutic massage, and bed rest.  (Tr. 151).                   Over the next two  months claimant responded very little            to conservative treatment.  She  continued to complain to Dr.            Vargas  of  pain  in her  neck,  back,  arms,  and left  hip.            Physical  examination  continued to  disclose  tenderness and            spasm  in her upper body and extremities, as well as positive            Tinel's  sign  at both  elbows.5    Approximately five  weeks            after  the accident,  claimant complained  that her  neck and                                
            ____________________            4.  Unless otherwise noted, the information which  follows is            contained  in Dr. Vargas's 12/3/91  report and the reports of            the tests that he ordered.  (Tr. 150-56, 158-60).            5.  Tinel's sign  is "a tingling sensation in  the distal end            of a limb when percussion is  made over the site of a divided            nerve.    It indicates  a  partial  lesion or  the  beginning            regeneration  of the nerve."   Dorland's  Illustrated Medical
                                           ______________________________            Dictionary,  (28th  ed.  1994),   p.  1527.    It  frequently
            __________            accompanies carpal  tunnel syndrome.   See The  Mosby Medical
                                                   ___ __________________            Encyclopedia, (1985 ed.) p. 730.
            ____________                                         -5-



            back  pain had  worsened,  particularly with  activity.   Dr.            Vargas    discontinued    physical   therapy    and   ordered            electromyogram (EMG)  and nerve conduction  velocity studies.            Studies performed on November  4, 1991 revealed that claimant            suffered  from  carpal  tunnel   syndrome  and  ulnar   nerve            entrapment at Guyon's canal in both upper extremities.  There            was also right ulnar nerve entrapment at the elbow, bilateral            S-1 root irritation, and right tarsal tunnel  syndrome.6  Dr.            Vargas observed that the entrapped nerves in claimant's upper            extremities accounted for  the neck  pain that  she had  been            experiencing and  that her bilateral S-1  root irritation was            the  apparent cause  of  her  back  pain.  (Tr.  155).7    He            referred  claimant to  a  hand surgeon  for consideration  of            surgical decompression  of the entrapped nerves  in her upper            extremities.  (Tr.  154).   While Dr. Vargas  did not  assess            claimant's  RFC,  he indicated  that  all  of her  conditions            resulted  in  a 13%  impairment of  the  whole person.   (Tr.            156).8                                   
            ____________________            6.  However, the EMG showed no evidence of lower motor neuron            disease.  (Tr. 160).             7.  A  CT scan of claimant's lumbar spine was normal, with no            evidence of disc herniation. (Tr. 158).              8.  Although Dr. Vargas referred  claimant to a hand surgeon,            there are no records from a hand surgeon before us.  However,            claimant's initial disability report  indicated that she  had            seen Dr. Julio  Simons for  possible surgery  to relieve  her            carpal  tunnel  syndrome.    (Tr.  51).    According  to  the            claimant,  Dr.  Simons  recommended  that  claimant initially            receive  cortisone shots because she still had 75% use of her                                         -6-



                 On 3/12/92,  claimant was examined by  Dr. Enid Berrios,            another physiatrist affiliated with the ACAA.  (Tr. 141). Dr.            Berrios  found claimant's muscle strength  was 3 out  of 5 on            the  left upper  extremity and  that she  exhibited decreased            sensation over the  C-6 and C-7 nerve  distribution.  Tinel's            sign was positive on the left, unreported  on the right.  Her            neck had a  functional range of motion.  Mild dextroscoliosis            was apparent in the dorsal and levolumbar regions.                 On  3/27/92,  claimant was  examined  on  behalf of  the            Social Security Administration (SSA)  by Dr. Oscar Benitez, a            neurologist.   He  found  that claimant's  mental status  was            alert, well oriented  and cooperative, and that  she was able            to give  a good  history  by herself.   Physical  examination            disclosed  no  atrophy,  weakness,  or  deficit  to  pinprick            sensation in the upper and lower extremities.   While Tinel's            sign was positive in  both wrists and elbows, no  cervical or            lumbar  spasm  was  detected.9     Dr.  Benitez  completed  a            detailed  range of  motion chart  which showed  that claimant            suffered  from  no limitations  except  a 10  degree  loss of            flexion-extension  in  the  lumbar  spine.   (Tr.    187-89).                                
            ____________________            hands. If  claimant worsened  despite the shots,  surgery was            recommended.   (Tr. 51-2,  79).  But  claimant indicated that            she did not wish to undergo cortisone shots, stating, "I have            enough  traumas in  life  to have  shots  with possible  side            effects."  (Tr. 79).             9.  X-rays  taken for Dr. Benitez on  3/27/92 showed that the            cervical  spine had  normal  vertebral alignment  and minimal            dextroscoliosis of the lumbosacral spine.  (Tr. 186).                                          -7-



            Relying on Dr. Vargas's EMG and nerve conduction studies, Dr.            Benitez concluded that claimant suffered from cervical dorsal            and  lumbar painful  syndrome  and multiple  nerve entrapment            neuropathies.    While  he  found no  objective  evidence  of            neurological  deficit, his  prognosis  was  reserved.    (Tr.            185).10                    On May 5, 1992, claimant underwent further EMG and nerve            conduction  studies at the request of Dr. Berrios.  While Dr.            Berrios's  reports  are   largely  illegible,  those  studies            revealed that claimant suffered from early right median nerve            entrapment and right C8T1 root irritability.  (Tr. 129).  Dr.            Berrios recommended  that claimant continue  physical therapy            and prescribed 12 visits.  (Tr. 134-36). Also    on   5/5/92,            claimant  underwent  a  psychiatric  examination  through the            ACAA.    In a  2-page  form report  that  was very  brief and            cryptic,  Dr.  Manual Colon  indicated  that  claimant had  a            moderate anxiety neurosis with depression that was related to            her accident.  He also checked off boxes which suggested that            this   condition  partially  limited  claimant's  ability  to            perform her usual work, but that she was  able to perform the                                
            ____________________            10.  On  April 23,  1992, Dr.  A.M. Marxuach,  a nonexamining            internist, completed a form assessment of claimant's physical            RFC.  Dr. Marxuach concluded that claimant could occasionally            lift  or  carry 50  pounds and  frequently  lift or  carry 25            pounds (findings consistent with  medium work under 20 C.F.R.             404.1567(c)), that she could  stand, walk, or sit up  to six            hours in an  8-hour day, and  that she had no  limitations in            her  abilities to push, pull, reach, handle, finger, or feel.            (Tr. 112).                                          -8-



            same type  of work.   (Tr. 138).   Dr.  Colon indicated  that            claimant   merited   psychiatric  treatment   and  prescribed            Tofranil and Buspar, anti-depression and anxiety medications.            He also recommended that  claimant return for reevaluation on            6/3/92.   (Tr. 140).   However, there  are no records  of any            such follow-up or further psychiatric treatment.                 On  5/29/92, Dr.  Vargas  discharged  claimant from  the            ACAA.  He indicated that claimant's neck continued to be very            tender  with severe spasm and that her arms were also tender.            He concluded that no  more physical therapy would be  of help            and  noted that claimant had been offered surgery but refused            it.   (Tr. 143, 128).   On 7/23/92, claimant  returned to Dr.            Berrios, who prescribed  medications and additional  physical            therapy.  (Tr. 120-23).  A 7/24/92 x-ray revealed reversal of            the  cervical lordosis  indicative of  cervical spasm.   (Tr.            119).  On 8/26/92, Dr. Vargas issued a final medical report.             He relied on the most recent EMG and nerve conduction studies            of  Dr. Berrios  in  concluding that  claimant suffered  from            cervical fibromyositis, cervical  radiculopathy, ulnar  nerve            entrapment at  the elbows, carpal tunnel  syndrome and lumbar            radiculopathy.   Dr. Vargas indicated that  claimant had over            40 physical  therapy treatments which were of  some help when            she  received  them but  that  her  pain returned  after  the            treatments.  (Tr. 193).    He recommended  that she  continue                                         -9-



            physical therapy because her neck pain  persisted.  (Tr. 117-            18).11                                           III.                 On appeal,  claimant argues that the ALJ  failed to base            his  decision on  substantial  evidence on  the  record as  a            whole.   She particularly faults the ALJ for finding that she            has no  medically determinable  mental impairment.   Claimant            contends that  this finding  is not supported  by substantial            evidence  because  it: (a)  was based  on  the report  of Dr.            Benitez, a  consulting neurologist  who was not  qualified to            render an opinion on psychiatric matters, and (b) disregarded            the psychiatric report of Dr.  Manual Colon - which indicated            that claimant  suffered from  an anxiety neurosis.   Claimant            says   that  the   ALJ  further   violated  the   Secretary's            regulations  by  failing  to  complete a  Psychiatric  Review            Technique Form (PRTF).  Finally, claimant argues that the ALJ            failed  to  give  appropriate  weight to  her  complaints  of            disabling pain.                 The  ALJ  did not  mention  Dr. Colon's  report  when he            concluded that claimant did not have a medically determinable            mental impairment.  But,  contrary to the claimant's argument            on appeal, the ALJ did not base this conclusion on the report                                
            ____________________            11.  Dr. Vargas  had previously indicated that claimant could            return to work on 6/1/92.  (Tr. 144, 146).  While he modified            his  diagnosis in  response  to Dr.  Berrios's EMG  and nerve            conduction studies, he did  not comment further on claimant's            capacity for work.                                         -10-



            of  Dr.  Benitez  alone.12    Rather,   the  ALJ  based  this            conclusion  on the  results  of Dr.  Benitez's mental  status            exam, his own  observations of claimant at  the hearing, and,            perhaps  most importantly, the absence of evidence indicating            that   claimant   suffered   from   any   significant  mental
                                                ___            limitations.   (Tr. 16).   This last finding  is significant,            for even Dr. Colon's report does not contradict it.                 Dr.  Colon's  report consisted  of  an  ACAA form  which            contained little  more  that his  conclusory  diagnosis  that            claimant  suffered  from an  anxiety  neurosis.   He  did not            identify   any   objective   findings   that   supported  his            conclusion, nor did he relate how claimant's anxiety impaired            her ability to work.  Indeed, even Dr. Colon did not conclude            that  claimant's anxiety left her unable to work.  His report            suggests  that claimant's  anxiety  resulted, at  most, in  a            partial  limitation  but  that  she ultimately  was  able  to            perform the same type of work. (Tr. 138).                                  
            ____________________            12.  We  note  that  neurologists  generally  perform  mental            status  evaluations  as  part  of the  standard  neurological            examination.   See, e.g.,  The Merck Manual,  (Robert Berkow,
                           ___  ____   ________________            M.D.,  ed.,  16th  ed.  1992), p.  1382,  McQuade,  Analyzing
                                                                _________            Medical Records,   4-3, p.  90 (1987).   We therefore  reject
            _______________            claimant's  contention that  the ALJ  could not  rely on  Dr.            Benitez's mental status findings  because Dr. Benitez was not            a  psychiatrist.   While we agree  that Dr.  Benitez's report            alone  was not  substantial evidence  that claimant  lacked a            mental impairment, see  Boyce v. Sullivan, 754  F. Supp. 126,
                               ___  _____    ________            128  (N.D. Ill. 1990)(neurologist's  cursory mental  exam was            not substantial  evidence of mental condition),  we think the            ALJ could  rely on  Dr. Benitez's report  in evaluating  this            issue.                                               -11-



                 In  the  face of  this  cryptic  report which  contained            little more than  check marks,  the ALJ was  not required  to            credit  Dr. Colon's diagnosis.   "The ALJ need  not accept an            opinion of a physician - even a treating physician - if it is            conclusory and brief and  unsupported by clinical  findings."            Matney v. Sullivan, 981 F.2d 1016, 1019 (9th Cir. 1992).  See
            ______    ________                                        ___            also Bernal v.  Bowen, 851  F.2d 297, 301  (10th Cir.  1988).
            ____ ______     _____            Cf.  Thompson  v.  Sullivan,  928  F.2d  255, 258  (8th  Cir.
            ___  ________      ________            1991)(treating physician's conclusory statements on insurance            form  were not entitled to more weight than opinions of other            doctors).13     Claimant   was  responsible   for   providing            specific medical  evidence of  her alleged mental  impairment            and its effect on her  functional capacity for work.   See 20
                                                                   ___            C.F.R.  404.1508;  Gray v.  Heckler, 760  F.2d 369,  375 (1st
                               ____     _______            Cir. 1985).   She failed to meet this burden.   The fact that            claimant may have suffered nightmares following  the accident            does not establish that she was not  able to work.  Moreover,            even  if we assume that Dr. Colon's diagnosis was correct and            that the ALJ  erred in  finding that claimant  had no  mental            impairment, is well established that the mere existence of an                                
            ____________________            13.  We note that  it is  not clear that  Dr. Colon  actually            treated claimant for  there are no  records of any  treatment            following her evaluation  on 5/5/92. Claimant's testimony  on            this  score was ambiguous: on one hand she indicated that she            had not seen a psychiatrist  in seven or eight months.   (Tr.            27).   She   subsequently   indicated   that   she   received            appointments  every month and a  half.  (Tr.  28).  But there            are no records which support her latter assertion.                                             -12-



            anxiety disorder does not constitute a disability. See, e.g.,
                                                               ___  ____            Sitar v. Schweiker, 671 F.2d 19, 20 (1st Cir. 1982); Alvarado
            _____    _________                                   ________            v.  Weinberger, 511  F.2d 1046,  1049 (1st  Cir. 1975).   The
                __________            remaining notations in Dr. Colon's report establish that this            condition was  not severe.   Thus, even  if the ALJ  erred in            discounting  Dr. Colon's  diagnosis, the  record proves  that            this error was harmless.14                  We are troubled, however, by another aspect of the ALJ's            decision.    The  ALJ concluded  that  the  claimant  was not            disabled because her RFC enabled her  to perform sedentary to            light  work.   Yet  he also  found  that claimant  could  not            perform frequent or continuous hand-finger activities such as            typing.   "'Most sedentary jobs require good use of the hands                                
            ____________________            14.  We  also are  not persuaded  that a  remand is  required            because  the ALJ  failed  to complete  a  PRTF.   The  record            discloses that the  ALJ did  append a PRTF  to his  decision.
                                    ___            (Tr.  20).  However, the ALJ's form is an abbreviated version            of the standard PRTF.  The ALJ's PRTF simply states that  the            claimant  does  not  have  a  medically  determinable  mental            impairment.    It  does  not  review  all the  categories  of            potential mental impairments listed under 20 C.F.R. Part 404,            Subpart P, App. 1,   12.00 (Mental Disorders), which are  set            forth in  the standard PRTF.   While we think the  use of the            standard form is preferable,  we do not read  the regulations            to  preclude the  use  of an  abbreviated  PRTF when  an  ALJ            determines   that   there   is   no   medically  determinable            impairment.  20 C.F.R.  404.1520a(b)(2) provides that the SSA            must indicate  whether certain medical  findings relevant  to            the  ability  to work  are present  or  absent only  "[i]f we            [i.e., the  SSA] determine that a  mental impairment exists."            If there  is insufficient  evidence that a  mental impairment            exists, there will be presumably be no medical findings which            would  allow the SSA  to complete the standard  PRTF.  In any            event, on  this record, we think that  any error that the ALJ            may  have made in failing  to complete the  standard PRTF was            harmless.                                           -13-



            and fingers.'" Heggarty v. Sullivan,  947 F.2d 990, 996  (1st
                           ________    ________            Cir.  1991)(quoting  SSR 83-14).    See  also  SSR 83-10  (CE
                                                ___  ____            1983)(same).   If  claimant  cannot perform  continuous hand-            finger  activities, she is not able to perform the full range            of  sedentary   work.    Thus,  the   ALJ's  conclusion  that            claimant's  nonexertional  limitations did  not significantly            reduce  claimant's RFC  is not  supportable.   His conclusion            that  claimant is not  disabled under  Grid Rules  201.28 and            201.29, both of which posit an ability for  the full range of            sedentary work, is similarly flawed.                   Ordinarily  we would be  required to remand  so that the            ALJ could  take vocational  evidence to meet  the Secretary's            burden  of proof  at  step  five.    However,  the  ALJ  also            concluded that claimant was capable  of light work, a finding            that  was supported by the RFC assessment of Dr. Marxuach and            Dr. Benitez's findings following his  physical examination of            the  claimant.15  Light  work generally does  not require use            of  the hands and fingers  for fine activities  to the extent            required in much  sedentary work.  See SSR 83-10  at 179  (CE
                                               ___            1983).   While  the  ALJ  did  not  expressly  refer  to  the            corresponding  grid  rules for  light  work  in his  decision            (i.e., Rules 202.21  and 202.22), we  think his not  disabled                                
            ____________________            15.  Contrary  to  the  claimant's arguments  on  appeal, the            record does not contain uncontroverted evidence of disability            from  claimant's  treating  physicians.   In  fact,  none  of            claimant's  physicians  ever  opined  that  she  was  totally            disabled.                                         -14-



            finding  is  supportable on  the  basis  that claimant  could            perform light work.                 Finally, we discern  no error in the  ALJ's treatment of            claimant's allegations of pain.   The ALJ properly questioned            claimant on the nature and frequency of her pain, the effects            of   her  medication,   daily   activities,  and   functional            restrictions  in accordance with Avery v. Secretary of Health
                                             _____    ___________________            and  Human Services, 797 F.2d 19 (1st  Cir. 1986) and SSR 88-
            ___________________            13.   While there was clearly objective medical evidence that            supported  claimant's  complaints  of  pain,  the  ALJ  noted            certain  inconsistencies in the record, such as the fact that            claimant's testimony that her medications caused adverse side            effects  was   not  corroborated   by  any  of   the  medical            records.16     Such   inconsistencies  supported   the  ALJ's            conclusion that claimant's complaints of  disabling pain were            not fully credible.   Frustaglia v.  Secretary of Health  and
                                  __________     ________________________            Human Services, 829 F.2d  192, 195 (1st Cir. 1987).   We note
            ______________            further that claimant has not done all that she might have to            remedy her condition.   Claimant testified that she preferred            not  to take her pain medications.  The record also discloses            that she  has been offered  cortisone therapy and  surgery to            relieve her carpal tunnel syndrome but that she has  declined            both alternatives.  "Implicit in a finding of disability is a                                
            ____________________            16.  While the  ALJ did not  explicitly refer  to the  record            which indicated that claimant  was not taking her medications            because she was pregnant, this is another inconsistency.                                          -15-



            determination  that existing treatment alternatives would not            restore a claimant's ability  to work." Tsarelka v. Secretary
                                                    ________    _________            of Health and  Human Services,  842 F.2d 529,  534 (1st  Cir.
            _____________________________            1988).  Claimant made no showing that the various medications            and other  treatments that  had been  offered to  relieve her            carpal tunnel syndrome would not restore her ability to work.            Nor  did  she  offer a  "good  reason"  for  failing to  take            advantage of the various remedies  that have been offered  to            her.    Tsarelka,  id.,  ("If  a  claimant  does  not  follow
                    ________   ___            prescribed treatment 'without a good reason,'  he or she will            not be found to  be disabled.")(quoting 20 C.F.R.  404.1530).            In view of  the foregoing, we find  that substantial evidence            supports the ALJ's decision.                 Judgment affirmed. 
                 ________ _________                                                                                       -16-



